                             UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

In re:                                                   )     Chapter 11
                                                         )
Squirrels Research Labs LLC et al.,1                     )     Case No. 21-61491
                                                         )     (Request for Joint Administration Pending)
                          Debtors.                       )
                                                         )     Judge Russ Kendig



                 NOTICE OF EXPEDITED HEARING ON CERTAIN
         FIRST DAY MOTIONS OF DEBTORS AND DEBTORS-IN-POSSESSION

         PLEASE TAKE NOTICE THAT, on November 23, 2021, the above-captioned Debtors

and Debtors-in-Possession (each a “Debtor” and collectively, the “Debtors”) commenced their

bankruptcy cases by filing voluntary petitions for relief under Chapter 11 of Title 11 of the United

States Code (the “Bankruptcy Code”).

         PLEASE TAKE FURTHER NOTICE THAT, on December 1, 2021 at 2:00 p.m., Eastern

Time, the Honorable Russ Kendig, United States Bankruptcy Judge, will conduct an expedited

hearing (the “Hearing”) telephonically in the Bankruptcy Courtroom at the Ralph Regula Federal

Building and U.S. Courthouse, 401 McKinley Ave SW, Canton, Ohio 44702, Dial In: (888) 684-

8852; Access Code: 3303949#,2 with respect to the following first day motions (collectively, the

“First Day Motions”) filed by the Debtors:




1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Squirrels Research Labs LLC (9310), case no. 21-61491 and The Midwest Data Company LLC (1213),
case no. 21-61492.
2
 For further details on telephonic participation, please refer to Judge Kendig’s Notice of Telephonic Hearing
Procedure, dated March 18, 2020, at https://www.ohnb.uscourts.gov/sites/default/files/memoranda/telephonic-
hearing-procedure-31820.pdf




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            Motion Or Application                            Nature of Relief Requested


 Motion of Debtors and Debtors-in-Possession       Order Granting Motion of Debtors and Debtors-
 For Joint Administration of Chapter 11 Cases      in-Possession For Joint Administration of
 Pursuant To Bankruptcy Rule 1015(b)               Chapter 11 Cases Pursuant To Bankruptcy Rule
                                                   1015(b)

 Motion of Debtors for Interim and Final           Interim Order: (I) Authorizing Secured
 Orders: (I) Authorizing the Midwest Data          Postpetition Financing on a Superpriority Basis
 Company LLC to Obtain Debtor in Possession        Pursuant to Section 364 of the Bankruptcy
 Financing; (II) Modifying the Automatic Stay;     Code; (II) Modifying the Automatic Stay; and
 (III) Approving DIP Loan and Security             (III) Granting Related Relief
 Agreement with Instantiation LLC; (IV)
 Setting Final Hearing; and (V) Granting
 Related Relief

 Motion of Debtors and Debtors-In-Possession       Order (A) Prohibiting Utilities From Altering,
 For Interim and Final Orders: (A) Prohibiting     Refusing or Discontinuing Services to, or
 Utilities From Altering, Refusing or              Discriminating Against, the Debtors on
 Discontinuing Services to, or Discriminating      Account of Prepetition Invoices; (B)
 Against, the Debtors on Account of Prepetition    Determining That the Utilities are Adequately
 Invoices; (B) Determining That the Utilities      Assured of Future Payment; and (C)
 are Adequately Assured of Future Payment;         Establishing Procedures For Determining
 and (C) Establishing Procedures For               Requests For Additional Assurance
 Determining Requests For Additional
 Assurance


       Copies of the First Day Motions can be obtained (a) through the United States Bankruptcy

Court’s PACER System; or (b) by contacting Marc B. Merklin or Julie K. Zurn via (i) email at

mmerklin@brouse.com or jzurn@brouse.com; (ii) telephone at 330.535.5711; or (iii) facsimile at

330.253.8601.

       PLEASE TAKE FURTHER NOTICE THAT, if you do not want the Court to grant the

relief requested in a Motion, or if you want the Court to consider your views on a Motion, then

you or your attorney must attend the Hearing.




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Dated: November 24, 2021               Respectfully submitted,

                                       /s/ Julie K. Zurn
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                                       Proposed Counsel for the
                                       Debtors and Debtors-in-Possession




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